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                                   Joseph Saveri Law Firm, Inc.
                                      601 California, Ste. 1000
                                     San Francisco, CA 94108

                                         January 10, 2018
Hon. Judge James Donato
United States District Court
450 Golden Gate Avenue
Courtroom 11, 19th Floor
San Francisco, California 94102
       Re:      In re Capacitors Antitrust Litigation, No. 14-cv-03264-JD
Dear Judge Donato:
KEMET Corporation and KEMET Electronics Corporation (together, “KEMET”) have moved
for a protective order barring the deposition of KEMET CEO Per Olof Loof. ECF No 1993. Mr.
Loof has unique personal knowledge of KEMET’s participation in anticompetitive cartel activity.
DPPs respectfully ask that the Court deny the motion and allow the deposition.
       I.       Background
DPPs allege that KEMET participated in the capacitors cartel via direct meetings and communi-
cations that included anticompetitive agreements and exchanges of sensitive, non-public pricing
and capacity information with other cartel members. ECF No. 1831 (DPPs’ Third Amended
Complaint) at ¶¶ 219-31. KEMET also acquired a controlling voting interest in Defendant
TOKIN Corporation—formerly NEC TOKIN Corporation—a major cartel member that plead-
ed guilty to criminal price fixing. Id. ¶¶ 231-33. KEMET refused to produce Mr. Loof’s custodial
files until the Court ordered their production in July 2015. (Dkt. No. 758.)
       II.      A Deposition of a Top-Level Corporate Officer May Proceed if the Witness
                Has Personal Knowledge of Relevant Facts
KEMET primarily relies on inapposite caselaw about so-called “apex” depositions—i.e., deposi-
tions conducted to elicit testimony from a top-level official not directly involved in the conduct at
issue. A party invoking the apex doctrine to prevent a deposition must first demonstrate good
cause for the protection. In re Transpacific Passenger Air Transp. Antitrust Litig., 2014 WL 939287,
at *2–3 (N.D. Cal. Mar. 6, 2014). KEMET’s letter brief does not mention its burden, the good-
cause requirement of Rule 26, or this Court’s prior reference to the need for KEMET to establish
“good grounds” before a protective order may issue. See ECF No 758.
And KEMET admits that a central factor in resolving a motion to preclude an apex deposition is
“whether the deponent has unique first-hand, non-repetitive knowledge of the facts at issue in
the case.” Hunt v. Continental Cas. Co., 2015 WL 1518067, at *2 (N.D. Cal. Apr. 3, 2015) (citing
Apple Inc., 282 F.R.D at 263). The threshold is low, and satisfied “where a corporate officer may
have any first-hand knowledge of relevant facts[.]” Id. (emphasis in original) (citations omitted).
       III.     Mr. Loof’s Unique Knowledge Warrants a Deposition
During negotiations with KEMET, Plaintiffs provided sample documents showing Mr. Loof’s
supervision of—and attendance at—meetings where KEMET exchanged sensitive business in-
formation with its competitors, as well as his role in negotiating and setting capacitor prices.
KEMET attempts to explain them away. ECF No. 1993 at 2. Nonetheless, the weight of the evi-
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dence makes clear that Mr. Loof has first-hand knowledge directly relevant to DPPs’ claims.
Compare In re Google Litig., 2011 WL 4985279, at *2 (N.D. Cal. Oct. 19, 2011) (where witness has
personal knowledge of relevant facts, “even a corporate president or CEO is subject to deposi-
tion”) (cite omitted). Mr. Loof’s relevant personal knowledge concerns the following matters:
Direct Communications with Cartel Members. As CEO, Mr. Loof discussed pricing and other
sensitive topics with competitors. See, e.g. KEM1100504 (Mr. Loof spoke with other component
manufacturer CEOs about pricing in Asia, noted that prices were holding, and agreed that price
erosion had slowed, developments creating a need to prepare); KEM1099330 (Mr. Loof met with
the CEOs of NEC TOKIN and Taiyo Yuden in Japan); NICHICON-AM00293129 (Ex. 2816);
Persico Tr. at 195:8-15 (Mr. Loof met with Nichicon’s President Takeda in 2009); and
KEM1437972 (Ex. 2802) (Mr. Loof met with NEC TOKIN and Hitachi executives in 2007 and
exchanged sensitive information, including prices).
Reports from Subordinates about Communications with Cartel Members. At least two KEMET
employees who exchanged competitive information with Japan-based competitors—Daniel Per-
sico, Vice President of Strategic Marketing and Business Development; and Philip Lessner, Sen-
ior Vice President and Chief Technology Officer—reported to Mr. Loof and briefed him on
meetings where they learned competitor pricing and other confidential facts. Mr. Lessner in-
formed Mr. Loof that KEMET had agreed to continue exchanges between TOKIN and KEMET
every six months, alternating between Japan and the United States, with the cross-competitor
discussions to include production rates, product plans, and capacity and production estimates.
KEM1420479; see also KEM1091420, KEM1175918 (Mr. Persico to share his notes from his May
2011 Japan trip, during which he obtained production capacity details from Japanese competitors,
with Mr. Loof); and KEM1418703 (Mr. Loof agreed it would be desirable for KEMET and
TOKIN to continue exchanging marketing and other information even after their technical li-
censing agreement expired). James McClintock, another KEMET employee, forwarded Mr.
Lessner’s report on a 2005 meeting with Sanyo to Mr. Loof, highlighting that SANYO and
TOKIN were in regular communication and indicating awareness that the Japan-based firms
were coordinating closely). KEM1099127 (Ex. 416), KEM1099128 (Ex. 417).
Involvement in the Pricing and Sale of Capacitors. Mr. Loof was personally involved in KE-
MET’s pricing and sales decisions for capacitors. That involvement is directly relevant to the
price-fixing claims in this case, particularly given Mr. Loof’s undisputed knowledge of non-public
information that KEMET exchanged with its competitors. See Apple, Inc., 282 F.R.D. at 265 (de-
ponent engaged in “the type of hands-on action which demonstrates the unique personal
knowledge required to compel a deposition of a CEO”). Fernando Spada, KEMET’s former
Vice President of Product Marketing—the unit responsible for pricing—testified about numer-
ous instances in which Mr. Loof participated in senior-level discussions with customers about
price increases. See Spada Dep. Tr. 331:22-334:10, 334:24-335:19, 337:20-338:23 (Mr. Loof met
with senior management at four major U.S. and European companies). Documentary evidence,
moreover, shows that Mr. Loof was directly and personally involved in pricing capacitors and in
negotiating pricing with customers. E.g., KEM1107048 (Mr. Loof gave input on pricing strategy);
KEM1120492 (Mr. Loof told of pricing movements to prepare for upcoming meetings and ad-
vised Panasonic was being more disciplined while TOKIN was dropping prices).
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Knowledge of and Control over TOKIN. Mr. Loof also has unique knowledge about KEMET and
TOKIN’s close “strategic relationship,” which began with information exchanges as early as
2002. E.g., KEM1396069 (email from December 2002 stating that TOKIN sought to share mar-
ket information with KEMET on a regular basis); KEM1143469 & KEM1143470 (Ex. 1455) (Sep-
tember 2009 presentation states KEMET and TOKIN maintain a regular dialogue about market-
ing). From 2009 to April 2017, Mr. Loof personally negotiated and supervised the TOKIN acqui-
sition. E.g., KEM1114899 (Mr. Loof involved in direct negotiation of the purchase price for
TOKIN). Since 2013, Mr. Loof has served both as CEO and Director of KEMET and as Repre-
sentative Director and Chairman of TOKIN with control over TOKIN’s pricing and sales deci-
sions. In performing these dual roles, Mr. Loof received and exchanged information and commu-
nications relevant to DPPs’ claims. E.g., KEM0787343 (email from customer asking that Mr.
Loof intervene in pricing negotiations with TOKIN); cf. Apple Inc., 282 F.R.D. at 269 (compelling
deposition of an executive with “unique role as the financial interface” between two defendants).
       IV.     KEMET Has Not Established Good Cause to Bar Mr. Loof’s Deposition
The party seeking to avoid discovery has a “heavy burden” to show “harm or prejudice that will
result from the discovery.” Apple Inc. v. Samsung Elecs. Co., 282 F.R.D. 259, 263 (N.D. Cal. 2012)
(citing Rivera v. NIBCO, Inc., 364 F.3d 1057, 1063 (9th Cir. 2004)); see also Blankenship v. Hearst
Corp., 519 F.2d 418, 429 (9th Cir. 1975) (party seeking to preclude deposition bears “heavy bur-
den”). Moreover, “[a]bsent extraordinary circumstances, it is very unusual for a court to prohib-
it the taking of a deposition.” Medimmune, LLC v. PDL Biopharma, Inc., 2010 WL 2640473, at *1
(N.D. Cal. June 30, 2010). KEMET provides no specific facts demonstrating a risk of harm or
prejudice and cites no “extraordinary circumstances.” See id. and Kennedy v. Jackson Nat’l Life
Ins. Co., 2010 WL 1644944, at *1 (N.D. Cal. Apr. 22, 2010) (broad allegations of harm unsubstan-
tiated by “specific examples or articulated reasoning” do not suffice) (citing Beckman Indus., Inc.
v. Int’l Ins. Co., 966 F.2d 470, 476 (9th Cir. 1992)); see also Grateful Dead Prods. v. Sagan, 2007
WL 2155693, at *1 (N.D. Cal. July 26, 2007) (denying protective order where “no specific facts”
supported “actual showing of undue burden”).
KEMET relies on Celerity, Inc. v. Ultra Cleaning Holding, Inc., 2007 WL 205067 (N.D. Cal. Jan.
25, 2007), a case where the witnesses were not shown to possess any first-hand knowledge of rel-
evant facts. The evidence here shows that, rather than being “removed from the daily subjects of
the litigation” as KEMET suggests (ECF No. 1993 at 2-3), Mr. Loof possesses unique, personal
knowledge of critical facts relating to KEMET’s pricing decisions and competitor contacts. Com-
pare WebSideStory, Inc. v. NetRatings, Inc., 2007 WL 1120567, at *4 (S.D. Cal. Apr. 6, 2007) (evi-
dence that a former CEO had “personal knowledge of facts relevant to the lawsuit” rendered
him “subject to deposition regardless of his position in the corporate hierarchy.”).
Furthermore, apex depositions may proceed even where “other witnesses may be able to testify
as to what occurred” given that “it is not uncommon for different witnesses to an event to have
differing recollections of what occurred.” First Nat’l Mortg. Co. v. Fed. Realty Inv. Trust, 2007
WL 4170548, at *2 (N.D. Cal. Nov. 19, 2007). Here, other key KEMET witnesses DPPs request-
ed are unavailable. Mr. Williams cited illness and has produced a doctor’s note. Mr. Kotelon, Mr.
Lohwasser, and Mr. Chen live abroad and have refused to appear voluntarily. Given Mr. Loof’s
oversight of all of them, DPPs require his testimony to bridge the gaps in the discovery record.
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Based on the foregoing, KEMET has not shown good cause for a protective order, and DPPs re-
quest an order compelling Mr. Loof’s deposition.

Respectfully,
Joseph Saveri Law Firm, Inc.

______/s/Joseph R. Saveri________

Interim Lead Class Counsel for
Direct Purchaser Plaintiffs

cc: All Counsel (via email)
